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                                                                                           FILED
                             IN THE UNITED STATES DISTRICT COURT                     U.S. District Court
                                                                                     District of Kansas ,
                                  FOR THE DISTRICT OF KANSAS
                                                                                      JAN 10 2020
                                                                            Clerf<, U.S. District Court
ROGER MATHEWS,                              )                               By        Can           Deputy Cle.rfc
                                            )
                Plaintiff,                  )
                                            )
V                                           )   CaseNo.17-1175-EFM
                                            )
BUTLER COMMUNITY COLLEGE,                  .)
                                            )
                Defendant.                  )



                                       VERDICT FORM

       WE, the Jury, impaneled and sworn in the above entitled case, upon our oaths, do make the

following answers to the following questions propounded by the Court.

       1.       Do you find that Butler Community College is liable to Roger Mathews for

constructively discharging him because of his age?

                   /     Yes

                _ _ _ No




       2.       Do you find tha~ Butler Community College is liable to Roger Mathews for

constructively discha7ng him in retaliation for his expressed opposition to age discrimination?

                _ _,_V_ ,Yes                         .

                - - - No
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[If your answers to the two questions above are "No," STOP. Have your foreperson sign and
date this form and notify the courtroom deputy that you have completed your deliberations.
Answer the following questions regarding damages only if you answered "Yes" to Questions
Nos. 1 or 2.)


        3.         What monetary amount, if any, should Roger Mathews be awarded for his lost back

pay and benefits?

        $




        4.         What monetary amount, if any, not to exceed $2,000, should Roger Mathews'

receive for his pain, suffering, and humiliation?

        $    2,   c:).)   0




        5.         Do you find that any unlawful conduct of Butler Community College was willful?

                          t /Yes

                   ___ No


        6.         Was agreement on each of the above five questions unanimous?


                      /ves

                   ___ No




Date:
